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                         IN THE UNITED STATES DISTRICT COURT                                     18 APR 11          PH 12:26
                          FOR TUE WESTERN DISTRICT OF TEXAS
                                    AUSTIN DIVISION
Community Financial Services Association of America, Ltd.
and Consumer Services Alliance of Texas,                                                                     :

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-vs-                                                             CaseNo.
Consumer Financial Protection Bureau and John Michael
Mulvaney, in his capacity as Acting Director, Consumer
Financial Protection Bureau.


                                                 ORDER

        BE IT REMEMBERED on this the                         day of   ____,                       2O             there

was    presented to     the Court      the     Motion     for Admission        Pro Hac           Vice    filed     by

         Michael A. Carvin           ("Applicant"), counsel for                     Plaintiffs                   and

the Court, having reviewed the motion, enters the following order:

        IT IS ORDERED that the Motion for Admission Pro Hac            Vice   is   GRANTED. and Applicant

may appear on behalf of                      Plaintiffs              in the above case.

        IT IS FURTHER ORDERED that Applicant, if Applicant has not already done so, shall,

in compliance with Local Court Rule           AT-l(fj(2), immediately tender the amount of $100.00,

made payable to: Clerk, U.S. District Court.

        IT IS FURTHER ORDERED that Applicant, pursuant to the Administrative Policies and

Procedures for Electronic Filing in Civil and Criminal cases in the Western District of Texas, shall

register as a filing user within 10 days of the date of this Order.

        IT IS FINALLY ORDERED that Applicant's Pro floe Vice status shall not become effective

until Applicant has complied with all provisions of this Order.

        SIGNED this the               day of                                   20/i

                                                    UNI   D STATES    STRICT         DGE
